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                             UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION


       JOHN J. REED,
                                             Plaintiff
       v.                                                           CASE NO.: 6:20-cv-00597

    CAR WASH HEADQUARTERS, INC.
    d/b/a MISTER CARWASH, A Foreign
    Profit Corporation,
                              Defendant
   _________________________________________/

          DEFENDANT’S ANSWER AND STATEMENT OF DEFENSES
   TO PLAINTIFF’S AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

            Defendant CAR WASH HEADQUARTERS, INC., d/b/a MISTER CARWASH, a

   Foreign Profit Corporation (“Defendant”),1 by and through its undersigned counsel, hereby

   files its Answer and Statement of Defenses to Plaintiff’s Amended Complaint and Demand

   for Jury Trial (“Amended Complaint”) and states as follows:

                                    JURISDICTION AND VENUE

            1.       Defendant admits that Plaintiff has alleged a violation of the law against

   Defendant and that Plaintiff is seeking damages for that alleged violation of law. Defendant

   denies that it is liable to Plaintiff or that Plaintiff is entitled to any relief whatsoever.

            2.       Defendant admits that venue is proper with this Court and denies all

   remaining allegations in Paragraph 2 of the Amended Complaint.




   1
            Defendant notes that its correct d/b/a is “Mister Car Wash.”
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          3.      On information and belief, Defendant admits the allegations in Paragraph 3

   of the Amended Complaint.

          4.      Defendant admits that it is a foreign corporation authorized to conduct

   business in the State of Florida, an employer under the Fair Labor Standards Act (“FLSA”),

   and that it has operated a car wash in Brevard County since approximately November 2015.

   Defendant denies that it is a Florida corporation.

          5.      Defendant admits the allegations in Paragraph 5 of the Amended

   Complaint.

          6.      Defendant admits the allegations in Paragraph 6 of the Amended

   Complaint.

          7.      Defendant admits the allegations in Paragraph 7 of the Amended

   Complaint.

          8.      On information and belief, Defendant admits the allegations of Paragraph 8

   of the Amended Complaint.

                                 GENERAL ALLEGATIONS

          9.      Defendant admits the allegations of Paragraph 9 of the Amended

   Complaint.

          10.     Defendant admits the allegations of Paragraph 10 of the Amended

   Complaint.

          11.     Defendant admits the allegations of Paragraph 11 of the Amended

   Complaint.




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          12.     Defendant admits the allegations of Paragraph 12 of the Amended

   Complaint.

          13.     Defendant admits the allegations of Paragraph 13 of the Amended

   Complaint.

          14.     Defendant admits that during Plaintiff’s employment, Defendant

   compensated him by paying him a combination of an hourly rate of pay and sales

   commissions. Defendant denies the remaining allegations in Paragraph 14 of the Amended

   Complaint.

          15.     Defendant admits that during Plaintiff’s employment, Plaintiff worked

   more than 40 hours in a workweek during several workweeks. Defendant denies the

   remaining allegations set forth in Paragraph 15 of the Amended Complaint and

   affirmatively alleges that it properly compensated Plaintiff as required by the FLSA.

          16.     Defendant admits that it paid sales commissions to Plaintiff during the

   period between March 2017 and August 2019. Defendant denies the amount and remaining

   allegations set forth in Paragraph 16 of the Amended Complaint, and affirmatively alleges

   that it properly compensated Plaintiff as required by the FLSA.

          17.     Defendant denies the allegations set forth in Paragraph 17 of the Amended

   Complaint and affirmatively alleges that it properly compensated Plaintiff as required by

   the FLSA.

          18.     Defendant denies the allegations set forth in Paragraph 18 of the Amended

   Complaint, and affirmatively alleges that it properly compensated Plaintiff as required by

   the FLSA.



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           19.    Defendant admits that Plaintiff’s hourly rate increased to $8.00 per hour

   plus sales commissions during his term of employment, denies the remaining allegations

   set forth in Paragraph 19 of the Amended Complaint, and affirmatively alleges that it

   properly compensated Plaintiff as required by the FLSA.

           20.    Defendant admits the allegations set forth in Paragraph 20 of the Amended

   Complaint.

           21.    Defendant admits that Plaintiff was compensated as stated on his pay

   statement for the week of February 9, 2020.

           22.    Defendant admits that Plaintiff was compensated as stated on his pay

   statement for the week of February 9, 2020.

           23.    Defendant admits that Plaintiff was compensated as stated on his pay

   statement for the week of February 9, 2020 and denies all remaining allegations set forth

   in Paragraph 23 of the Amended Complaint. Defendant affirmatively alleges that Plaintiff

   was exempt from the FLSA’s requirements for overtime during the relevant time period

   and further affirmatively alleges that it properly compensated Plaintiff as required by the

   FLSA.

           24.    Defendant admits the allegations set forth in Paragraph 24 of the Amended

   Complaint.

           25.    Defendant denies the allegations set forth in Paragraph 25 of the Amended

   Complaint. Defendant affirmatively alleges that Plaintiff was exempt from the FLSA’s

   requirements for overtime during the relevant time period and further affirmatively alleges

   that it properly compensated Plaintiff as required by the FLSA.



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                                 GENERAL ALLEGATIONS

           26.     Defendant restates and incorporates by reference its answers to Paragraphs

   1 through 25.

           27.     Defendant admits Plaintiff has asserted that he has brought this action

   regarding payment of overtime wages that he claims to be unpaid arising from his

   employment relationship with Defendant.

           28.     Paragraph 28 of the Amended Complaint states a legal conclusion and is

   neither admitted nor denied. Defendant alleges affirmatively that the work performed by

   Plaintiff falls within the exemptions provided for in Section 7(i) of the FLSA, 29 U.S.C. §

   213(e)(7)(i) and as expounded in 29 C.F.R. § 779.419.

           29.     Defendant denies the allegations in Paragraph 29 of the Amended

   Complaint. Defendant alleges affirmatively that the work performed by Plaintiff falls

   within the exemptions provided for in Section 7(i) of the FLSA, 29 U.S.C. § 213(e)(7)(i)

   and as expounded in 29 C.F.R. § 779.419.

           30.     Defendant admits that Plaintiff was compensated as stated on his pay

   statements for the relevant time period and denies all remaining allegations set forth in

   Paragraph 30 of the Amended Complaint. Defendant affirmatively alleges that Plaintiff

   was exempt from the FLSA’s requirements for overtime during the relevant time period

   and further affirmatively alleges that it properly compensated Plaintiff as required by the

   FLSA.

           31.     Defendant admits that Plaintiff was compensated as stated on his pay

   statements for the relevant time period and denies all remaining allegations set forth in



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   Paragraph 31 of the Amended Complaint. Defendant affirmatively alleges that Plaintiff

   was exempt from the FLSA’s requirements for overtime during the relevant time period

   and further affirmatively alleges that it properly compensated Plaintiff as required by the

   FLSA.

           32.    Defendant denies the allegations in Paragraph 32 of the Amended

   Complaint. Defendant alleges affirmatively that the work performed by Plaintiff falls

   within the exemptions provided for in Section 7(i) of the FLSA, 29 U.S.C. § 213(e)(7)(i)

   and as expounded in 29 C.F.R. § 779.419.

           33.    Defendant denies the allegations in Paragraph 33 of the Amended

   Complaint and further affirmatively alleges that it properly compensated Plaintiff as

   required by the FLSA.

           34.    Defendant denies the allegations in Paragraph 34 of the Amended

   Complaint. Defendant alleges affirmatively that actions taken in connection with Plaintiff’s

   compensation were done in good faith in conformity with and reliance upon written

   administrative regulations, orders, rulings, approvals, interpretations, and written and

   unwritten administrative practices or enforcement policies of the Administrator of the

   Wage and Hour Division of the United States Department of Labor.

           35.    Defendant denies the allegations in Paragraph 35 of the Amended

   Complaint. Defendant alleges affirmatively that the work performed by Plaintiff falls

   within the exemptions provided for in Section 7(i) of the FLSA, 29 U.S.C. § 213(e)(7)(i)

   and as expounded in 29 C.F.R. § 779.419 and that actions taken in connection with

   Plaintiff’s compensation were done in good faith in conformity with and reliance upon



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   written administrative regulations, orders, rulings, approvals, interpretations, and written

   and unwritten administrative practices or enforcement policies of the Administrator of the

   Wage and Hour Division of the United States Department of Labor.

          36.     Defendant denies the allegations in Paragraph 36 of the Amended

   Complaint and alleges affirmatively that actions taken in connection with Plaintiff’s

   compensation were done in good faith in conformity with and reliance upon written

   administrative regulations, orders, rulings, approvals, interpretations, and written and

   unwritten administrative practices or enforcement policies of the Administrator of the

   Wage and Hour Division of the United States Department of Labor.

          37.     Defendant denies the allegations in Paragraph 37 of the Amended

   Complaint.

          38.     Defendant denies the allegations in Paragraph 38 of the Amended

   Complaint.

          Defendant denies that Plaintiff is entitled to the relief requested in the unnumbered

   “WHEREFORE” paragraph following Paragraph 38, including subparagraphs (A) through

   (D), of Plaintiff’s Amended Complaint, or to any other relief from Defendant.

                              DEMAND FOR TRIAL BY JURY

          Defendant admits Plaintiff demands a jury trial on all issues triable in Plaintiff’s

   Amended Complaint. Defendant denies any liability or wrongdoing or that Plaintiff is

   entitled to any relief whatsoever.




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                                     GENERAL DENIAL

          Defendant specifically denies each and every allegation of Plaintiff’s Amended

   Complaint not specifically admitted herein.

                                STATEMENT OF DEFENSES

          As separate defenses, and without conceding Defendant bears the burden of proof

   or persuasion as to any of them, Defendant alleges as follows:

                                       FIRST DEFENSE

          Plaintiff fails, in whole or in part, to state a claim upon which relief can be granted.

                                     SECOND DEFENSE

          Plaintiff’s FLSA claim is barred as Plaintiff was compensated for all hours suffered

   or permitted to work in accordance with the FLSA.

                                       THIRD DEFENSE

          Plaintiff’s claim for unpaid overtime is barred, in whole or in part, to the extent the

   work performed falls within the exemptions provided for in Section 7(i) of the FLSA, 29

   U.S.C. § 213(e)(7)(i) and as expounded in 29 C.F.R. § 779.419.

                                     FOURTH DEFENSE

          Plaintiff’s FLSA claim should be dismissed to the extent that he failed to raise

   concerns about alleged improper payment pursuant to the FLSA.

                                       FIFTH DEFENSE

          Plaintiff’s FLSA claim is barred, in whole or in part, by the provisions of Section

   10 of the Portal-to-Portal Act, 29 U.S.C. § 259, because actions taken in connection with

   Plaintiff’s compensation were done in good faith in conformity with and reliance upon



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   written administrative regulations, orders, rulings, approvals, interpretations, and written

   and unwritten administrative practices or enforcement policies of the Administrator of the

   Wage and Hour Division of the United States Department of Labor.

                                       SIXTH DEFENSE

          Defendant at all times acted in good faith to comply with the FLSA and with

   reasonable grounds to believe that its actions did not violate the statutes cited in the

   Amended Complaint, and Defendant asserts a lack of willfulness or intent to violate the

   FLSA as a defense to any claim by Plaintiff for liquidated damages.

                                     SEVENTH DEFENSE

          Plaintiff’s FLSA claim may be barred in whole or part by the applicable statute of

   limitations, after acquired evidence doctrine or the equitable doctrines of waiver, estoppel,

   laches and/or unclean hands.

                                      EIGHTH DEFENSE

          Plaintiff’s FLSA claim, if any, is governed by a two-year statute of limitations

   under 29 U.S.C. § 255(a), because Defendant’s actions were not willful. Alternatively,

   even if Defendant’s conduct is found to be willful, a three-year statute of limitations would

   apply. Either way, Plaintiff’s FLSA claim is time-barred in whole or in part to the extent

   any relief is sought beyond the applicable statute of limitations.

                                       NINTH DEFENSE

          To the extent that the period of time alluded to in the Complaint, or the period of

   time alleged later in this action, predates the statute of limitations period set forth in the

   FLSA, such claims are barred.



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                                       TENTH DEFENSE

           To the extent any overtime wages are due Plaintiff, which Defendant denies,

    Defendant’s failure to provide overtime compensation was in good faith based upon the

    number of hours Plaintiff reportedly worked in each work week and the commissions due

    to Plaintiff related to his efforts in that work week. As such, Defendant had reasonable

    grounds for believing the hours Plaintiff reportedly worked and commissions due were

    accurate and any consequent non-payment of overtime compensation was not in violation

    of the FLSA or willful.

                                   ELEVENTH DEFENSE

           To the extent any overtime wages are due Plaintiff, which Defendant denies,

    Defendant’s reliance upon Plaintiff to accurately record the hours he reportedly worked

    (and any consequent non-payment of overtime compensation) was in good faith and not

    in willful disregard of the FLSA’s requirements.

                                    TWELFTH DEFENSE

           Plaintiff’s FLSA claim is barred, in whole or in part, by the doctrines of estoppel

    and unclean hands to the extent Plaintiff’s own conduct resulted in him not being

    compensated in accordance with the FLSA.

                                  THIRTEENTH DEFENSE

           To the extent Plaintiff suffered a loss of wages, Defendant is entitled to offset any

    unpaid wages with other wages, compensation or benefits paid to Plaintiff.

                                  FOURTEENTH DEFENSE

           To the extent Plaintiff seeks an award of liquidated damages, such damages are



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    unavailable under applicable law and/or are barred based on Defendant’s good faith

    efforts to comply with the law.

                                      FIFTEENTH DEFENSE

           Plaintiff’s FLSA claim is barred, in whole or in part, by the provisions of Section

    11 of the Portal-to-Portal Act, 29 U.S.C. § 260, because any acts or omissions giving rise

    to this action were done in good faith and with reasonable grounds for believing that the

    actions or omissions were not a violation of the FLSA.

                                      SIXTEENTH DEFENSE

           Plaintiff’s FLSA claim is barred, in whole or in part, by the doctrine of de minimis

    non curat lex.

                                         RESERVATION

           Defendant reserves the right to move this Court to amend the foregoing defenses

    and/or add defenses based on information obtained during discovery.

           WHEREFORE, Defendant requests:

           1.        That judgment be entered in favor of Defendant and against Plaintiff;

           2.        That the Complaint be dismissed with prejudice;

           3.        That Defendant be awarded its costs; and

           4.        That Defendant be granted such other and further relief as this Court may

    deem just and proper.

           Dated this 20th day of July, 2020.

                                                  Respectfully submitted,

                                                  ABBE M. GONCHARSKY, PLLC
                                                  6281 N. Oracle Rd. #35397


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                                                On Special Admission to the United States
                                                District Court for the Middle District of
                                                Florida
                                                Email: abbe@amglawaz.com

                                                Attorneys for Defendant

                               CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 20th day of July, 2020, I electronically filed the
    foregoing with the Clerk of the Court using the CM/ECF system which will send a copy
    via email to the following: Maurice Arcadier, Esquire, Joseph C. Wood, Esquire, Arcadier
    Biggie, & Wood, PLLC, 815 W. New Haven Ave Ste. 304, Melbourne, FL 32904; email:
    office@abwlegal.com and arcadier@abwlegal.com.


                                                /s/ Abbe M. Goncharsky
                                                Abbe M. Goncharsky




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